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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES – GENERAL

   Case No. 8:19-mc-00005-AG (DFMx)                                     Date: February 19, 2019
    Title   In re Banc of California Securities Litigation



     Present: The Honorable         Douglas F. McCormick, United States Magistrate Judge

                      Nancy Boehme                                         Not Present
                       Deputy Clerk                                      Court Reporter
                Attorney(s) for Plaintiff(s):                      Attorney(s) for Defendant(s):
                       Not Present                                         Not Present

   Proceedings:       (IN CHAMBERS) Order re Sugarman’s Motion to Compel (Dkt. 1)


      Before the Court is a motion to compel compliance with subpoenas served on third parties
Castalian Partners Value Fund LP and James Gibson (“Respondents”) by Steven A. Sugarman
(“Sugarman”) in the underlying case In re Banc of California Securities Litigation, No. 17-118
(C.D. Cal.). See Dkt. 1 (“Motion”).1

       The underlying subpoenas are identical to those issued by Sugarman in the related case In re
Subpoenas to Muddy Waters Capital LLCP, MLAF LP, and SS&C Technologies, Inc., No. 18-
147 (C.D. Cal.). For the reasons stated in the Court’s January 8, 2019 Order (Dkt. 31), the Motion
is GRANTED IN PART AND DENIED IN PART. Respondents are ORDERED to produce
documents responsive to Requests 2 and 3 within twenty-one (21) days of the date of this order.2
The documents must be designated attorneys’ eyes only pursuant to the existing protective order
in the underlying case. See In re Banc, Dkt. 83.




                The Motion was transferred from the District of Minnesota to the Central District
                1

       of California on February 7, 2019. See Dkt. 38.

               Request No. 2 seeks all documents reflecting Respondents’ transactions in securities
                2

       of Banc. Request No. 3 seeks all documents reflecting Respondents’ decision to enter into
       any transactions in securities of Banc. See Dkt. 16, Exs. 7, 8.

CV-90 (12/02)                                   CIVIL MINUTES-GENERAL           Initials of Deputy Clerk: nb
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